Case: 4:15-Cv-01883-.]AR Doc. #: 1 Filed: 12/18/15 Page: 1 of 3 Page|D #: 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
STACIA BLANCHFIELD, )
)
Plaintiff, )
)
v. ) Case No.
)
MEDICREDIT, INC., )
) JURY TRIAL DEMANDED
Defendant. )
NOTICE OF REMOVAL

 

Defendant Medicredit, Inc. (“l\/ledicredit”) timely files this Notice of Removal pursuant
to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from the Circuit Court of St. Charles
County, Missouri, Associate Division, to the United States District Court for the Eastern District
of Missouri, Eastern Division, and in support of this Notice, states as follows:

1. On November 12, 2015, Plaintiff Stacia Blanchiield (“Plaintiff’) filed a Petition
against Medicredit (the “Petition”) in the Circuit Court of St. Charles County, Missouri,
Associate Division, Case No. 151 l-AC06528 (the “State Court Action”). The Petition contains
claims alleging a violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
(the “FDCPA”).

2. Pursuant to 28 U.S.C. § 1446(a), Medicredit attaches to this Notice a copy of all
pleadings, orders and other papers or exhibits of every kind currently on file in the State Court
Action. S_e_e Exhibit A, attached hereto.

3. Plaintiff served Medicredit With the summons in the State Court Action on
Decernber 8, 2015. Accordingly, Medicredit timely files this Notice Within the 30~day limit

established by 28 U.S.C. § 1446(b)(1). See. e.g., Murphv Brothers, Inc. v. Michetti Pipe

SL 1745495.1

Case: 4:15-ov-01883-.]AR Doo. #: 1 Filed: 12/18/15 Page: 2 of 3 Page|D #: 2

Stringing, Inc., 526 U.S. 344, 355 (1999) (noting that the removal time frame is triggered by
receipt of formal service, not receipt of complaint.).

4. The United States District Court for the Eastern District of Missouri has original
jurisdiction over this matter under 28 U.S.C. § 1331 because the claim alleging a violation of the
FDCPA implicates this Court’s federal question jurisdiction _S_e_e_ EX. A, Petition, at W 1, 11 and
14.

5. Removal to the United States District Court for the Eastern District of l\/lissouri is
proper under 28 U.S.C. § 1441(a), Which provides that any civil action brought in a County
and/or State Court Where the District Courts of the United States have original jurisdiction is
removable to the district of the United States District Court embracing the place Where such
action is pending.

6. Venue is proper in the Eastein Division of this Court because this action is being
removed from the Circuit Court for St. Charles County, Missouri, Associate Division, and the
acts complained of in Plaintiff’s Petition are alleged to have been directed at Plaintiff in St.
Charles County, Missouri. Id at ‘H 3.

7. ln light of the foregoing, this Court has subject matter jurisdiction over this
action, and this case is properly removed to this Court.

8. Medicredit has filed a Notice of Filing Notice of Removal With the State Court
and, upon filing this Notice, shall promptly provide Written notice of its Notice of Removal to all
adverse parties in the State Court Action.

WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is
removed and transferred from Circuit Court of St. Charles County, State of Missouri, Associate

Division, to the United States District Court for the Eastern District of l\/lissouri.

2 SL1745495.1

Case: 4:15-ov-01883-.]AR Doo. #: 1 Filed: 12/18/15 Page: 3 of 3 Page|D #: 3

Respectfully submitted,
SPENCER FANE LLP

By: /s/ Scott J. Dickenson
Scott J. Dickenson, #504781\/1()
Megan D. Meadows, #606691\/10
l N. Brentvvood Blvd., Suite 1000
St. Louis, MO 63105
(314)-863-7733 (telephone)
(3 14)-862-465 6 (facsimile)
sdickenson@spencerfane.com
mineadows@spencerfane.com

Attorneys for Defendant

CERTIFICATE OF SERVICE
The undersigned hereby certificates that on this 18th day of December, 2015, a copy of

the foregoing document vvas electronically filed With the Clerl< of the Court, to be served by the
Court’s electronic notification system upon all attorneys of record.

/s/ Scott J. Dickenson

3 SL 1745495.1

